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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 IN THE MATTER OF THE COMPLAINT            1:21-mj-02533-JMC
 AND ARREST WARRANT FOR         Case No. ____________________

 JONATHAN GRAY NEWELL                               Filed Under Seal


                                              ORDER

                                                                               9th
       For good cause shown upon motion of the United States of America, this ________ day

of September, 2021, by the United States District Court for the District of Maryland, it is hereby

ORDERED that the above-referenced complaint, arrest warrant, and supporting affidavit, along

with the government’s motion to seal and this Order BE, and the same hereby are, SEALED

pending further order of this Court.

       It is further ORDERED that the Clerk of the Court provide a copy of this Order to the

United States Attorney’s Office.


                                             ______________________________________
                                             Honorable J. Mark Coulson
                                             UNITED STATES MAGISTRATE JUDGE




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